                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND
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  BREY CORP. t/a Hobby Works

                  Plaintiff

  vs.
                                                         CIVIL ACTION NO. 8:11-CV-00718-AW
  LQ MANAGEMENT, L.L.C

                  Defendant.



              PLAINTIFF’S MOTION TO MODIFY THE SCHEDULING ORDER
                 INCLUDING EXTENSION OF DISCOVERY DEADLINES

        Plaintiff, Brey Corp t/a Hobby Works (“Plaintiff”), through counsel, moves for

modification of the Scheduling Order, including an extension of discovery deadlines. Defendant’s

counsel advises that Defendant does not consent to the relief sought in this motion.

                                       I. Nature of the Case.

        This putative class action arises from alleged violations of the Telephone Consumer

Protection Act, 47 U.S.C. § 227, (“TCPA”) by the transmission of unsolicited advertisements via

facsimile. The TCPA creates a private right of action with statutory damages at a minimum of

$500 per violation. The complaint alleges violations via sending and via non-compliant opt-out

language, for each fax, and alleges that tens of thousands were sent. As stated in the prior (consent)

motion to modify the scheduling order:

                  In addition, due to the complexity of the claims and issues, the
                  anticipated need for discovery and investigation, and the likelihood
                  that there will be multiple experts on class certification issues, as
                  well as the merits, the parties agree that additional time is required
                  to complete discovery, provide expert disclosures and to file
                  dispositive motions prior to briefing on class certification.
ECF 22 at 1. Despite diligent efforts by Plaintiff to pursue discovery, information and documents

that are essential for class certification and for trial on the merits remain unproduced. Plaintiff has

sent subpoenas to non-parties and has thereby obtained some relevant documents that indicate the

existence of still other critical documents and information, and is now engaged in the pursuit of

information and documents in Canada. Additional time is needed for the completion of this

essential discovery and for review of that information by experts.

                                II. Plaintiff has proceeded diligently.

       Following a dispute with Defendant’s corporate counsel over the adequacy of service of

process arising from the confusingly similar names of two entities, both maintaining their principal

offices in Texas (LQ Management, L.L.C., engaged in the hotel industry, and LQ Management,

LLC, engaged in the health care industry; see motion at ECF 6), a new summons was issued and

service was made in compliance with all technical requirements.

       Defendant’s first formal response to the suit was a motion to dismiss for lack of subject

matter jurisdiction. Despite the clear allegations in the complaint that the faxes were sent to tens of

thousands of consumers (ECF 1 at 4), Defendant argued that Plaintiff failed to allege facts sufficient

to support the minimum $5,000,000 amount in controversy required for class actions. The Court

denied the motion, ruling that the complaint contained sufficient allegations to support the

requirement for purposes of diversity jurisdiction, and that Defendant had not met its burden of

showing facts that would disprove those allegations. (ECF 17 at 5.)

       The initial scheduling order was issued on November 1, 2011. (ECF 19). The initial

scheduling order was modified, via joint motion at ECF 22, and order at ECF 23. Plaintiff promptly

issued interrogatories and document requests to Defendant on November 17, 2011, and received

Defendant’s responses, containing mostly denials, on January 20, 2012. A total of eleven pages




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were produced by Defendant in response to the document requests, including a three-page letter

they had received from Plaintiff’s counsel as part of Plaintiff’s pre-suit investigation. Plaintiff’s

counsel wrote Defendant’s counsel on February 9, 2012, noting deficiencies in the responses and

asking for complete answers and full production of documents, but received no substantive

information or documents in response. Based on Defendant’s professed lack of knowledge and

documents, and counsel’s prior experience with motions to compel under these circumstances

Plaintiff turned to alternative means of discovery.

       Both before and after receipt of Defendant’s discovery responses, Plaintiff issued document

subpoenas to non-parties, and thereby obtained several hundred pages of documents which confirm

that there has been a longstanding practice by LQ facilities of using vendor-supplied lists, including

fax lists, to contact prospective customers, and further confirming that a large fax broadcaster in

Ottawa, Canada known as Protus IP Solutions, LLC has provided fax broadcasting services for LQ.

With respect to the subpoenas, obtaining subpoena responses has required significant follow up

work from Plaintiff’s counsel to secure compliance with the subpoena, requiring additional time.

       Defendant professes to be unaware of any documents or information pertaining to the fax

broadcasting services rendered by Protus or by any other fax broadcaster, including the data

routinely generated by fax broadcasters pertaining to fax transmissions. As Defendant’s responses

repeat the mantra, “investigation is ongoing,” Plaintiff has asked Defendant to supplement its

responses for months based on its “ongoing investigation.”

       Only today, June 8, 2012, the last day of discovery under the current schedule, did Plaintiff

receive Defendant’s supplementation, providing demand letters from lawyers and documentation of

settlements for unsolicited facsimile advertisements for La Quinta Inns during Plaintiff’s proposed

class period. In addition, Defendant provided supplemental answers to interrogatories, disclosing




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(on the last day of discovery precluding (under the current schedule) any follow up discovery and

depriving Plaintiff of the ability to obtain records relating to the faxes at issue. By way of example,

Defendant disclosed for the first time the identity of two employees who were involved in some

way in fax marketing, April Comerford and Johanns Williams. Lastly, for the first time Defendant

identified a telephone number and carrier for advertisements that may have been sent by Mr.

Williams. These 11th hour disclosures alone are a valid reason to extend the discovery period in this

action. To refuse to extend discovery would allow the Defendant to prevent Plaintiff from securing

information allowing it to identify the class through delayed and incomplete discovery responses.

                               III. Pursuit of Documents in Canada

       Plaintiff has been in contact with Protus as described in the Application for International

Letters of Assistance (ECF 25), further to the subpoena served on its parent j2 Global, Inc. and has

been advised that Protus will not produce records or information without clearance from Canadian

authorities under Canadian privacy laws. This situation has compelled Plaintiff to engage

Canadian counsel, and to prepare for the possibility of contested proceedings in Canada over the

release of the documents and information.

       Plaintiff’s counsel has retained the Ottawa, Ontario firm of Fraser Milner Casgrain, LLP to

assist in the process of securing an order from a Canadian court. Fraser Milner advises Plaintiff’s

counsel that securing an order and production could take six months. An action to secure records

from Canada is in Plaintiff’s view necessitated in part by Defendant’s professed inability to find the

information and documents among its own records, and its refusal to request the documents directly

from Protus as a service provider for Defendant.

       Protus has asserted that compliance with Plaintiffs’ subpoena, issued under the authority of

this Court, will violate the Ontario Business Records Protection Act, R.S.O.,1990 c. B.19, s.1-2




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(“OBRPA”) and/or Canada’s Personal Information Protection and Electronic Documents Act, 2000,

ch. 5, s. 1-60 S.C. 2000 (Can.) (“PIPEDA”), and that these laws preclude disclosure outside of

Ontario, Canada of documents and information maintained solely in the province of Ontario, in the

absence of an order from an Ontario court, and clearance from the Ontario Privacy Commission.

The undersigned has challenged the applicability of these Canadian statutes to discovery in cases

pending in the U.S. courts, in other litigation before this Court (e.g. Hobby Works v. Protus, Case

No. DKC 08-CV-1618), and has found that this Court is reluctant to rule on the issue, and prefers

instead to have the parties go through the Canadian clearance process. Rather than take the time to

force the issue again, Plaintiff has made the necessary arrangements, with the assistance of

Canadian counsel as described above, to undertake this expensive and potentially time-intensive

process.

                                           IV. Expert Issues

       Despite the “likelihood that there will be multiple experts on class certification issues, as

well as the merits . . .” as recited in the first motion to modify the scheduling order, there has been

exactly one expert identified in this case (for defendants) and his report states essentially that he

was given insufficient information to tell who sent the two faxes attached to the complaint as

Exhibits A and B. Clearly, without data from the fax broadcaster and its customer who ordered the

advertisements, this analysis by anyone is hampered.

       Plaintiff expects that the data from Protus will provide the information necessary for a

meaningful expert analysis of substantive information and documents, rather than the lack of

information or documents, by both sides. Plaintiff therefore requests an opportunity to designate an

expert for this purpose after the Protus records have been obtained, and for an opportunity to depose

witnesses pertaining to fax broadcast services for advertisements promoting La Quinta.




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                                    V. Proposed new dates.

Existing Deadline      Proposed Deadline             Event
March 16, 2012         October 16, 2012        Plaintiff’s Rule 26(a)(2) disclosures

April 27, 2012         November 16, 2012       Defendant’s Rule 26(a)(2) disclosures

May 11, 2012           December 3, 2012        Plaintiff’s rebuttal Rule 26(a)(2) disclosures

May 18, 2012           December 3, 2012        Rule 26(e)(2) supplementation of disclosures and
                                               responses

June 8, 2012           December 15, 2012       Discovery deadline; status report

June 29, 2012          January 10, 2012        Dispositive motions on plaintiff’s claims

August 31, 2012        February 28, 2013       Motion for Class Certification due

September 28, 2012     March 21, 2013          Opposition to Motion to Class Certification

October __, 2012       April 2, 2013           Reply brief on Motion for Class Certification

                       April   , 2013          Hearing on Motion for Class Certification


       Plaintiff requests that the Court set a status conference following the ruling on class

certification to discuss further scheduling.




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                                          VI. Conclusion

       The modifications requested in this motion are necessary for completion of essential

discovery, including documents and information in Canada, for purposes of a full presentation

of the facts pertaining to class certification and pertaining to the merits. Defendant will suffer no

prejudice from the requested modifications to the scheduling order. Discovery is grossly

incomplete despite diligent efforts by Plaintiff. Plaintiff requests modification of the scheduling

order using the dates listed above.


Dated: June 8, 2012                            Respectfully submitted,
                                               Attorneys for Plaintiff
                                               Brey Corporation


                                                             /s/
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                                       Request for Hearing

    Plaintiff requests a hearing on this motion either via telephone or in open court.

                           /s/
    Stephen H. Ring



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